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 2   State Bar No. 11479
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     Nevada State Bar No. 12223
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 6   Heidi_Ojeda@fd.org

 7   Attorney for Jonathan Wilk

 8
                                UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:21-cr-00110-JAD-NJK

12                 Plaintiff,                                STIPULATION TO CONTINUE
                                                             REVOCATION OF PRETRIAL
13          v.
                                                                 RELEASE HEARING
14   JONATHAN WILK,                                                 (First Request)

15                 Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
18   Acting United States Attorney, and Kimberly A. Sokolich, Assistant United States Attorney,
19   counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,
20   and Heidi A. Ojeda, Assistant Federal Public Defender, counsel for Jonathan Wilk, that the
21   Revocation of Pretrial Release Hearing currently scheduled on December 8, 2021, be vacated
22   and continued to a date and time convenient to the Court, but no sooner than seven (7) days.
23          This Stipulation is entered into for the following reasons:
24          1.     Defense counsel has a scheduling conflict with the currently set date.
25          2.     Mr. Wilk is out of custody and has no objection to the continuance.
26          3.     The government agrees with this continuance.
       Case 2:21-cr-00110-JAD-NJK Document 29 Filed 12/02/21 Page 2 of 3




 1        This is the first request for a continuance of the revocation of pretrial release hearing.
 2        DATED this 2nd day of December, 2021.
 3
 4   RENE L. VALLADARES                              CHRISTOPHER CHIOU
     Federal Public Defender                         Acting United States Attorney
 5
 6      /s/ Heidi A. Ojeda                              /s/ Kimberly A. Sokolich
     By_____________________________                 By_____________________________
 7   HEIDI A. OJEDA                                  KIMBERLY A. SOKOLICH
     Assistant Federal Public Defender               Assistant United States Attorney
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 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                         Case No. 2:21-cr-00110-JAD-NJK
 4
                   Plaintiff,                          ORDER
 5
            v.
 6
     JONATHAN WILK,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the revocation of pretrial release hearing currently

11   scheduled for Wednesday, December 8, 2021 at 1:30 p.m., be vacated and continued to

12   December 20, 2021 at the hour of 3:00 p.m., in a courtroom to be determined.

13          DATED this 2nd day of December, 2021.

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                                                UNITED STATES MAGISTRATE JUDGE
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